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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


EDWARD PATLAKH,                               :
                                              :       CIVIL ACTION
                Petitioner,                   :
                                              :
       v.                                     :
                                              :       NO. 20-4501
KILOLO KIJAKAZI, Commissioner
                        1
                                              :
Of Social Security,                           :
                                              :
                Respondent.                   :


                                             ORDER

       AND NOW, this 3rd day of December, 2021, upon consideration of the Report and

Recommendation filed by United States Magistrate Judge Lynne A. Sitarski, to which no

objections were filed, and upon independent review of the briefs filed by the parties, it is hereby

ORDERED that:

       1. The Report and Recommendation (Doc. No. 20) is APPROVED and ADOPTED;

       2. Plaintiff’s Request for Review (Doc. No. 16) is GRANTED; and

       3. This matter is REMANDED to the Commissioner of Social Security for further

             proceedings consistent with the Report and Recommendation.



                                              BY THE COURT:



                                              /s/ Mitchell S. Goldberg
                                              MITCHELL S. GOLDBERG, J.


1
        Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021.
Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi has been
substituted for Andrew Saul as the Defendant in this case.
